Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 1 of 39 Page ID #:17338
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 2 of 39 Page ID #:17339
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 3 of 39 Page ID #:17340
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 4 of 39 Page ID #:17341
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 5 of 39 Page ID #:17342
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 6 of 39 Page ID #:17343
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 7 of 39 Page ID #:17344
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 8 of 39 Page ID #:17345
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 9 of 39 Page ID #:17346
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 10 of 39 Page ID
                                #:17347
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 11 of 39 Page ID
                                #:17348
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 12 of 39 Page ID
                                #:17349
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 13 of 39 Page ID
                                #:17350
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 14 of 39 Page ID
                                #:17351
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 15 of 39 Page ID
                                #:17352
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 16 of 39 Page ID
                                #:17353
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 17 of 39 Page ID
                                #:17354
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 18 of 39 Page ID
                                #:17355
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 19 of 39 Page ID
                                #:17356
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 20 of 39 Page ID
                                #:17357
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 21 of 39 Page ID
                                #:17358
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 22 of 39 Page ID
                                #:17359
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 23 of 39 Page ID
                                #:17360
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 24 of 39 Page ID
                                #:17361
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 25 of 39 Page ID
                                #:17362
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 26 of 39 Page ID
                                #:17363
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 27 of 39 Page ID
                                #:17364
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 28 of 39 Page ID
                                #:17365
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 29 of 39 Page ID
                                #:17366
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 30 of 39 Page ID
                                #:17367
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 31 of 39 Page ID
                                #:17368
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 32 of 39 Page ID
                                #:17369
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 33 of 39 Page ID
                                #:17370
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 34 of 39 Page ID
                                #:17371
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 35 of 39 Page ID
                                #:17372
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 36 of 39 Page ID
                                #:17373
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 37 of 39 Page ID
                                #:17374
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 38 of 39 Page ID
                                #:17375
Case 2:22-cv-09094-GW-MAR Document 574 Filed 07/10/23 Page 39 of 39 Page ID
                                #:17376
